                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                         PLAINTIFF

VS.                                           CRIMINAL ACTION NO. 3:16-CR-33-DJH

                                                     Electronically Filed


LOUIS CHARLTON                                                                  DEFENDANT

                            *           *                *

                       DEFENDANT’S TRIAL MEMORANDUM


       Comes the Defendant, LOUIS CHARLTON, by his appointed counsel, and files this

Trial Memorandum pursuant to the Court’s Order of April 22, 2016 (Document 21):



               STATUTES INVOLVED AND ELEMENTS OF THE OFFENSES

       The Indictment charges Mr. Charlton in Count One with knowingly and intentionally

possessing with the intent to distribute cocaine, a Schedule II controlled substance, on November

16, 2015. The Defendant is charged in Count Two with knowingly and intentionally

distributing cocaine, a Schedule II controlled substance, also on November 16, 2015.

       Title 21 U.S.C. Section 841(a) proscribes any person from knowingly or intentionally

manufacturing, distributing, dispensing, or possessing with intent to manufacture, distribute or

dispense a controlled substance. Section 841 (b)(1)(c) prohibits this activity regarding Schedule

II controlled substances.

       Count Three of the Indictment charges the Defendant under Title 18 U.S.C. Section 924

(c) (1) (A) with carrying a firearm during and in relation to the drug trafficking crimes in Counts
One and Two, specifically alleging that he knowingly carried a semiautomatic pistol during a

transaction and during the execution of the search of his residence.

       Count Four of the Indictment charges Mr. Charlton with possessing two firearms and

ammunition on November 16, 2015, after having been previously convicted in the Jefferson

Circuit (Kentucky) Court of three felony offenses (offenses punishable by imprisonment for a

term exceeding one year), as proscribed by Title 18 U.S.C. Section 922 (g)(1). Said firearm and

ammunition are required to have been shipped or transported in interstate or foreign commerce.

                              STATEMENT OF FACTS

       According to the United States, on November 16, 2015, Louisville Metro Police Officers

utilized the services of a Confidential Informant to make a “controlled purchase” of an amount of

cocaine from Mr. Charlton at his residence, 3937 South Fifth Street, Louisville, Kentucky. Law

enforcement agents are alleged to have conducted surveillance of the purchase and recovered a

quantity of cocaine from the informant after the transaction.

       Subsequent to the controlled transaction, LMPD officers executed a search warrant at the

residence and seized a quantity of suspected cocaine, marijuana, drug paraphernalia, surveillance

cameras and equipment, cellular telephones and approximately $94,000.00 in currency. Also

seized from the residence were two semiautomatic pistols and ammunition.

       At the conclusion of the search, the Defendant was questioned by the officers at his

residence, after being advised of his Miranda rights. The Defendant waived his rights and spoke

to the officers freely about his involvement with controlled substances and other individuals

involved in drug transactions. Mr. Charlton was subsequently interviewed by law enforcement

officers later before being booked into the Metropolitan Department of Corrections and after his

arraignment on state drug and firearm charges in the Jefferson District Court. These interviews
were tape recorded. Mr. Charlton made numerous incriminating statements during these

interviews.

                                 UNRESOLVED ISSUES OF LAW

          Following the status conference held in this case on June 17, 2016, the parties were

ordered to file legal memoranda regarding the statements made by Mr. Charlton to law

enforcement agents following the execution of the search warrant. Because of the nature and

contents of the Defendant’s statements, these memoranda were filed under seal (Documents 23

and 24) and are currently under submission to this Court. The Defendant has requested the

Court to dismiss the charges in the Indictment (as well as to suppress all statements attributed to

Mr. Charlton) because of the conduct of the investigating law enforcement officers.



                           EVIDENTIARY TRIAL ISSUES AND PROBLEMS

          Other than the issues identified above, which have been briefed by the parties, the

undersigned has not identified any significant evidentiary trial issues or problems that need to be

addressed at the time of this filing.

          It is anticipated that the Defendant will stipulate to the fact that he has a previous felony

conviction, as this is an element of Count Four. See Old Chief v. United States, 519 U.S. 172

(1997).



                 PROPOSED SUBSTANTIVE AND SPECIAL JURY INSTRUCTIONS

          The Defendant attaches hereto jury instructions, and requests leave to offer additional

instructions depending upon the evidence introduced at trial.
                                PROPOSED VOIR DIRE QUESTIONS

       The Defendant attaches hereto proposed voir dire questions.



                                                      Respectfully submitted,

                                                      s/LARRY D. SIMON
                                                      LARRY D. SIMON
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                                                      Counsel for Defendant, Louis Charlton


                               CERTIFICATION

       It is hereby certified that this pleading was electronically filed through the ECF system,

which will send electronic notice of filing to counsel of record, on this the 5th day of July, 2016.



                                                      s/LARRY D. SIMON
                                                      LARRY D. SIMON




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